Case 8:20-cv-02118-PX Document 107-2 Filed 04/20/21 Page 1 of 2
Case 8:20-cv-02118-PX Document 107-2 Filed 04/20/21 Page 2 of 2



           Rosario Fifth Status Report, Rosario v. USCIS, No. 15-0813-JLR
6A
           (W.D. Wash.) (“Rosario”), ECF No. 170-1 (Mar. 10, 2021)

           Defendants’ April 12, 2021 Report Entitled “I-765 - Application for
           Employment Authorization Eligibility Category: C08, Pending
6B
           Asylum Initial Permission to Accept Employment Completions by
           Processing Time Buckets August 1, 2020 - March 31, 2021”

6C         Declaration of Connie Nolan, Rosario, ECF No. 170-2 (Mar. 10, 2021)

           Rosario Defendants’ Response to Motion for Civil Contempt and to
6D
           Enforce Permanent Injunction, Rosario, ECF No. 179 (Apr. 12, 2021)

           Declaration of Ernest DeStefano, Rosario, ECF No. 179-5 (Apr. 12,
6E
           2021)




                                   2
